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IN THE UNITED STATES DISTRICT COURT %h' ~~~~~~ DQ

FoR THE wEsTERN DISTRICT oF TENNESSEE 95 JUM
wEsTERN DIVISION ` 3 PH 2¢0"
."\' §:;v‘* "~ ~
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n OF TN. MEMPH;`S
TERRY J. JOHNSON, et al.,
Plaintiffs,
vs. Civ. No. 05-2015-D[P

CITY OF DYERSBURG, et al.,

Defendants.

 

SCHEDULING ORDER

 

Counsel for the parties have conferred, pursuant to Federal
Rules of Civil Procedure 26(f), for the purpose of proposing a
discovery plan. Counsel for the parties submit the following
proposed Scheduling Order pursuant to their Rule 26(f) meeting.

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(&)(1):
July l, 2005

JOINING PARTIES:

Plaintiffs - August 16, 2005

Defendants - September l, 2005

AMENDING PLEADINGS:

Plaintiffs - August 16, 2005

Defendants - September l, 2005

INITIAL MOTIONS TO DISMISS: September 15, 2005

COMPLETING ALL DISCOVERY: February 16, 2006

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(a) DOCUMENT PRODUCTION, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: OCtOber 14, 2005

(b) DEPOSITIONS, and OTHER EXPERTS: January 16, 2005
(C) EXPERT WITNESS DISCLOSURE (Rule 26):

{l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: November 16, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: December 16, 2005

{3) SUPPLEMENTATIONS: January 6, 2006

(4) EXPERT WITNESS DEPOSITIONS: February l6, 2006
FILING DISPOSITIVE MOTIONS: March 20, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good_ cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding' judge. It is anticipated. that the trial will last
approximately three (3) days.

The parties are encouraged to engage in court»annexed attorney
mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this point, the parties have not consented to trial before
the Magistrate Judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

bca

TU M. PHAM
United States Magistrate Judge

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Date

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CV-02015 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

